186 F.2d 509
    51-1 USTC  P 9338
    Leo WALLACH FAMILY TRUST, Leo Wallach, Trustee, Transferee,v.COMMISSIONER OF INTERNAL REVENUE.
    No. 4064.
    United States Court of Appeals Tenth Circuit.
    Dec. 6, 1950.
    
      William L. Branch and R. A. Lauterbach, Denver, Colo., for petitioner.
      Theron L. Caudle, Asst. Atty. Gen., Ellis N. Slack, Sp. Asst. to Atty. Gen., Department of Justice, and Charles Oliphant, Chief Counsel, and Claude R. Marshall, Sp. Atty., Bureau of Internal Revenue, Washington, D.C., for respondent.
      Before PHILLIPS, Chief Judge, and HUXMAN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Affirmed December 6, 1950, pursuant to stipulation, on authority of case No. 4063, Wolan v. Commissioner of Internal Revenue, 10 Cir., 184 F.2d 101.
    
    